      Case 1:20-cv-08010-LTS-GWG Document 251 Filed 03/14/23 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x

PEREZ, et al.,

                 Plaintiffs,

        -v-                                                           No. 20-CV-8010-LTS-GWG

ESCOBAR CONSTRUCTION, INC., et. al.,

                 Defendants.

-------------------------------------------------------x

                                                     ORDER

                 The Court has received notice that Defendant Jhony Aris Escobar filed a Chapter

7 bankruptcy petition on March 3, 2023, in the United States Bankruptcy Court for the Southern

District of Indiana. In light of the automatic stay provisions of 11 U.S.C. section 362,

proceedings in this action are stayed as to Defendant Jhony Aris Escobar only, without prejudice

to an application to the bankruptcy court for relief from the automatic stay. In the absence of

such relief, Plaintiffs shall file a status report on June 1, 2023, and the first day of each calendar

quarter thereafter, stating whether the bankruptcy case is still pending and whether this case

should remain stayed as to Defendant Jhony Aris Escobar.

                 The case is stayed as against Defendant Jhony Aris Escobar only and remains

referred to Judge Gorenstein for general pretrial management.

SO ORDERED.

Dated: New York, New York                                        /s/ Laura Taylor Swain
       March 14, 2023                                            LAURA TAYLOR SWAIN
                                                                 Chief United States District Judge




ESCOBAR - STAY ORD                                         VERSION MARCH 14, 2023                        1
